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                         UNITED STATES DISTRICT COURT.
                         WESTERN DISTRICT OF KENTUCKlTJ 16 FEB I 8 PH         12: 33
                            BOWLING GREEN DIVISION

JONNA FREEMAN, individually &
on behalf of all similarly situated,

         Plaintiff(s),
                                                      Case Number    1: llo - Ccv~\ ~-- GN S
v.

EASY MOBILE LABS, INC.

         Defendant.
------------------------------~'
                                     COMPLAINT

         1.   The named Plaintiff, Jonna Freeman, individually and on behalf of all

similarly situated, sues Defendant, Easy Mobile Labs, Inc., pursuant to 29 U.S.C. §

216(b) for unpaid overtime .

         2.    Defendant is a Washington State for profit company.

         3.   Defendant conducts business in -Kentucky, Alabama, Georgia, Indiana,

Mississippi, Tennessee, Florida, Montana and Wyoming. See

www .easymobilelabs.com.

         4.   Named Plaintiff worked for Defendant from July 2014 through

·December 2015 in Kentucky, Tennessee and Georgia.

         5.   Named Plaintiff was a phlebotomist.

         6.   Named Plaintiff specifically performed work in, among other places,

Bowling Green, Kentucky.

         7.   Defendant paid Plaintiff(s) from its Vancouver, Washington location.



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       8.       Defendant never paid Plaintiff(s) overtime .

       9.       Plaintiff(s) primary job duties were to travel to various locations such as

assist ed living facilities and private residen ces to collect urine, blood and stool

samples from p atients.

       10. Defendant is in the business of sending phlebotomists to patients to

collect urine , blood and stool samples.

       11. Defendant pays Plaintiff(s) per mile.

       12. Defendant's Per-Mile Pay Policy violates 29 U.S.C. § 207(a)(1) .

       13. Defendant falsely classifies the wages paid to Plaintiff(s) as

      . . "
" comm1sswn.

       14. Plaintiff(s) regularly work over forty hours a week without receiving

150% of their regular rate for overtime .

       15. Defendant was sued in 2015 for not paying one of its phlebotomist

overtime.

       16. The Honorable Court has original jurisdiction pursuant to 28 U.S.C. §

1331 and 29 U.S.C. § 216(b).

       17. An employer must pay an employee overtime pursuant to 29 U .S. C. §

207(a)(1).

       18. Defendant did not comply with 29 U.S.C. § 207 as it relates to

Plaintiff(s).

       19. Defendant has annual gross revenues of over $500,000.




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       20. Defendant employs employees that handle goods or materials that have

moved in interstate commerce, such as vehicles, cell phones, syringes, medical

equipm ent and paper.

       21. Defendant is an ent erprise as defined by 29 U.S.C. § 203(r).

       22 . Defendant is an enterprise engaged in commerce as defined by 29 U .S.C .

§ 203(s) (1)(A).

       23. Defendant employed named Plaintiff.

       24. Defendant was named Plaintiffs employer as defined by 29 U.S.C. §

203(d) .

       25. Defendant willfully violated the FLSA.

       26. Defendant acted in reckless disregard of the FLSA.

       27. Plaintiff(s) are owed overtime for the work they performed for

Defendant.

       28. Defendant has been the employer of Plaintiff(s) as defined by 29 U.S .C. §

203(d).

       29. The class is defined as any phlebotomist that worked for Defendant at

any time between February 2013 and January 2016 in the United States and was

compensated pursuant to Defendant's Per-Mile Pay Policy.

       30. The Plaintiff(s) had similar job duties.

       31. The Plaintiff(s) were paid pursuant to the same pay policy.

       32. There are similarly situated employees to named Plaintiff that would

like to recover unpaid overtime .



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      33. In 2015, judgment was entered against Defendant for $4,000.00 plus

$11,000.00 in attorneys' fees and costs in Diane Levine v. Easy Mobile Labs, Inc.,

3: 15-cv- 180 (M.D. Tenn. 2015) .

      34. Plaintiff(s) are similarly situated to Diane Levine .

      35. Defendant's Per-Mile Pay Policy viola tes 29 U.S.C. §§ 207(a)(l), ll(c)

a nd 15(a)(2) by not accurately recording the time of each phlebotomist week by

week and assuring premium pay for hours worked over forty in a workweek.

           Wherefore, Plaintiff(s) demand pursuant to Section 16(b) of the FLSA

facilitation of notice of rights to putative class members, conditional class

certification, class certification, unpaid overtime, liquidated damages, judgment,

attorneys' fees and costs.

           Respectfully submitted this 17th day of February 2016,



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